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                                UNITED STATES JUDICIAL PANEL
                                             on
                                 MULTIDISTRICT LITIGATION


IN RE: E.I. DU PONT DE NEMOURS AND COMPANY
C-8 PERSONAL INJURY LITIGATION                                                                 MDL No. 2433


                                           TRANSFER ORDER


        Before the Panel:* Pursuant to 28 U.S.C. § 1407, defendant E.I. du Pont de Nemours and
Company (DuPont) moves to centralize this litigation in the Southern District of Ohio or, alternatively, in
the Southern District of West Virginia. This litigation currently consists of twenty-six actions pending in the
Southern District of Ohio and the Southern District of West Virginia, as listed on Schedule A.1

         All of the responding parties agree that centralization is appropriate. In addition to DuPont,
plaintiffs in twenty-five actions support centralization in the Southern District of Ohio. Plaintiffs in four
potential tag-along actions in the Southern District of Ohio and the Southern District of West Virginia
request centralization in the Southern District of West Virginia. Plaintiffs in another four potential tag-along
actions seek centralization in the Eastern District of New York. Notably, every party supports
centralization in the Southern District of Ohio, at least in the alternative, and several parties also suggest the
Southern District of West Virginia as an alternative transferee forum.

         On the basis of the papers filed and the hearing session held, we find that these actions involve
common questions of fact, and that centralization under Section 1407 in the Southern District of Ohio will
serve the convenience of the parties and witnesses and promote the just and efficient conduct of this
litigation. All the actions are personal injury or wrongful death actions arising out of plaintiffs’ alleged
ingestion of drinking water contaminated with a chemical, C-8 (also known as perfluorooctoanoic acid
(PFOA) or ammonium perfluorooctanoate (APFO)), discharged from DuPont’s Washington Works Plant
near Parkersburg, West Virginia. All of the plaintiffs in this litigation allege that they suffer or suffered from
one or more of six diseases identified as potentially linked to C-8 exposure by a study conducted as part
of a 2005 settlement between DuPont and a class of approximately 80,000 persons residing in six water
districts allegedly contaminated by C-8 from the Washington Works Plant. See Leach v. E.I. Du Pont
de Nemours & Co., No. 01-C-608 (W. Va. Cir. Ct.). Centralization will eliminate duplicative discovery;
prevent inconsistent pretrial rulings; and conserve the resources of the parties, their counsel and the
judiciary.



        *
            Judge John G. Heyburn II took no part in the decision of this matter.
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          The parties have notified the Panel of eleven additional related actions pending in the same two
districts. These and any other related actions are potential tag-along actions. See Panel Rule 7.1.
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          Weighing all factors, we have selected the Southern District of Ohio as the transferee district for
this litigation. All the parties agree—at least in the alternative—that transfer to the Southern District of Ohio
is appropriate. The majority of the related actions are pending in this district, including the first-filed and
most advanced action. The Southern District of Ohio is both accessible and convenient for parties and
witnesses. Four of the six water districts allegedly contaminated by C-8 are in the Southern District of
Ohio, as are the majority of potential plaintiffs. Further, centralization in this district permits the Panel to
assign the litigation to a less-utilized district with an experienced judge who is not presently overseeing a
multidistrict litigation.

        IT IS THEREFORE ORDERED that pursuant to 28 U.S.C. § 1407, the actions listed on Schedule
A and pending outside the Southern District of Ohio are transferred to the Southern District of Ohio and,
with the consent of that court, assigned to the Honorable Edmund A. Sargus, Jr., for coordinated or
consolidated pretrial proceedings with the actions pending there.


                                           PANEL ON MULTIDISTRICT LITIGATION




                                           _________________________________________
                                                       Kathryn H. Vratil
                                                       Acting Chairman

                                           W. Royal Furgeson, Jr.             Paul J. Barbadoro
                                           Marjorie O. Rendell                Charles R. Breyer
                                           Lewis A. Kaplan
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IN RE: E.I. DU PONT DE NEMOURS AND COMPANY
C-8 PERSONAL INJURY LITIGATION                                              MDL No. 2433


                                        SCHEDULE A


            Southern District of Ohio

     Thomas Yakubik v. E. I. DuPont De Nemours and Company, C.A. No. 2:12-00815
     John Borman v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01180
     Betty Bragg v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01181
     Lotie Cline v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01182
     Elmer A. Crites v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01183
     Linda Davis v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01184
     Crystal Forshey v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01185
     Melinda Gibson v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01186
     Vicky Lightfritz v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01187
     Willard Lightfritz v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01188
     Kathi Lowe v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01189
     Kit McPeek-Stalnaker v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01190
     Thomas Eugene Molden v. E. I. du Pont de Nemours and Company,
             C.A. No. 2:12-01191
     Jack Offenberger v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01192
     Terry Pugh v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01193
     Kay Sheridan v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01194
     Herbert Short v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01195
     John Wright v. E. I. du Pont de Nemours and Company, C.A. No. 2:12-01196
     Amber Wriston v. E. I. du Pont de Nemours and Company, C.A. No. 2:13-00002

            Southern District of West Virginia

     Summer Mitchell v. E. I. du Pont de Nemours and Company, C.A. No. 3:12-09572
     Thomas Deryl Northup v. E. I. du Pont de Nemours and Company, C.A. No. 3:12-09574
     Kathy Selby v. E. I. du Pont de Nemours and Company, C.A. No. 3:12-09576
     Mary Harper v. E. I. du Pont de Nemours and Company, C.A. No. 3:12-09577
     Virginia Morrison, et al. v. E. I. du Pont de Nemours and Company, C.A. No. 6:12-07053
     Scott Blackwell v. E. I. du Pont de Nemours and Company, C.A. No. 6:12-07054
     Sandra Tennant v. E. I. du Pont de Nemours and Company, C.A. No. 6:12-07055
